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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 06CR2006-LAB-02

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL

MARGARITA CARDENAS,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

X    the Court has granted the motion of the Government for dismissal; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) of:

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.



DATED:   November 21, 2006


                                              Hon. Anthony J. Battaglia
                                              U.S. Magistrate Judge
                                              United States District Court
